     Case 2:14-cr-00021-RMP       ECF No. 997    filed 11/10/14   PageID.4520 Page 1 of 1




 1
 2
 3                          UNITED STATES DISTRICT COURT

 4                       EASTERN DISTRICT OF WASHINGTON

 5
     UNITED STATES OF AMERICA,                       No. 2:14-CR-021-RMP-23
 6
 7                       Plaintiff,                  ORDER GRANTING
                                                     DEFENDANT’S UNOPPOSED
 8 vs.                                               MOTION TO MODIFY
 9
   BRETT A. LUTON,
10
11                       Defendant.
12         Before the Court is Defendant’s Motion to modify the conditions of release
13   contained in ¶ 18 of ECF No. 606. The United States does not object.          Pretrial
14   Services indicates that Defendant’s compliance with his terms of release has been
15   acceptable since the last hearing before this Court.
16         IT IS ORDERED that Defendant’s Motion, ECF No. 993, is GRANTED.
17   The conditions of release are modified to the extent Defendant no longer will be
18   required to participate in electric home monitoring or GPS monitoring.
19         Except as modified hereby, all other terms and conditions of release remain
20   the same, in full force and effect.
21         DATED November 10, 2014.
22
23                                    _____________________________________
                                                JOHN T. RODGERS
24                                     UNITED STATES MAGISTRATE JUDGE
25
26
27
28



     ORDER - 1
